       Case 25-30155 Document 131 Filed in TXSB on 06/04/25 Page 1 of 3




                   IN THE UNITED STATES BANKRUPTCY COURT
                     FOR THE SOUTHERN DISTRICT OF TEXAS
                              HOUSTON DIVISION

 IN RE:                         §                         CASE NO. 25-30155
                                §
 ALLIANCE FARM AND RANCH, LLC,  §                         (CHAPTER 11)
                                §
       DEBTOR                   §
                                §
                                §
 IN RE:                         §                         CASE NO. 25-31937
                                §
 ALLIANCE ENERGY PARTNERS, LLC, §                         (CHAPTER 11)
                                §
       DEBTOR                   §                         JOINTLY ADMINISTERED

          NOTICE OF FILING ON APPLICATION OF EMPLOYMENT AND
   APPLICATION OF COMPENSATION AND REIMBURSEMENT OF EXPENSES OF
      OKIN ADAMS BARTLETT CURRY LLP AS COUNSEL FOR THE DEBTORS
 FOR THE PERIODS MARCH 14, 2025, THROUGH MAY 23, 2025 (ALLIANCE FARM AND
            RANCH, LLC) AND APRIL 7, 2025 THROUGH MAY 23, 2025,
                    (ALLIANCE ENERGY PARNTERS, LLC)


                     NOTICE PURSUANT TO LOCAL RULE 9013-1

THIS MOTION SEEKS AN ORDER THAT MAY ADVERSELY AFFECT YOU. IF YOU OPPOSE THE MOTION,
YOU SHOULD IMMEDIATELY CONTACT THE MOVING PARTY TO RESOLVE THE DISPUTE. IF YOU AND
THE MOVING PARTY CANNOT AGREE, YOU MUST FILE A RESPONSE AND SEND A COPY TO THE MOVING
PARTY. YOU MUST FILE AND SERVE YOUR RESPONSE WITHIN 21 DAYS OF THE DATE THIS WAS SERVED
ON YOU. YOUR RESPONSE MUST STATE WHY THE MOTION SHOULD NOT BE GRANTED. IF YOU DO NOT
FILE A TIMELY RESPONSE, THE RELIEF MAY BE GRANTED WITHOUT FURTHER NOTICE TO YOU. IF YOU
OPPOSE THE MOTION AND HAVE NOT REACHED AN AGREEMENT, YOU MUST ATTEND THE HEARING.
UNLESS THE PARTIES AGREE OTHERWISE, THE COURT MAY CONSIDER EVIDENCE AT THE HEARING
AND MAY DECIDE THE MOTION AT THE HEARING.


REPRESENTED PARTIES SHOULD ACT THROUGH THEIR ATTORNEY.



       PLEASE TAKE NOTICE that Okin Adams Bartlett Curry LLP (“Okin Adams”), counsel

for the Debtors in the above-captioned bankruptcy estate (Jointly Administered) (the “Debtors”),
        Case 25-30155 Document 131 Filed in TXSB on 06/04/25 Page 2 of 3




filed its Application For Approval of Employment of Okin Adams Bartlett Curry, LLP as Counsel

for Debtors and Application of Compensation and Reimbursement of Expenses of Okin Adams

Bartlett Curry LLP, Counsel for the Debtors, for the Period March 14, 2025 through May 23,

2025(Alliance Farm and Ranch) and April 7, 2025 through May 23,2025, (Alliance Energy

Partners, LLC) (the “Application”)1 [ECF # 130].


       The total fees incurred for the Alliance Farm and Ranch, LLC Application Period of March

14, 2025, through May 23, 2025 (the “AFR Application Period”) for which Okin Adams seeks

approval of compensation of $43,537.50 for professional fees, $1,651.56 for reimbursable

expenses and $2,100.00 for preparation of this Application, for a total of $47,289.06 in fees and

expenses during the AFR Application Period.


       The total fees incurred for the Alliance Energy Partners, LLC Application Period of April

7, 2025, through May 23,2025 (the “AEP Application Period”) for which Okin Adams seeks

approval of compensation of $10,995.00 for professional fees, $2,032.72 for reimbursable

expenses and $2,100.00 for preparation of this Application, for a total of $15,127.72 in fees and

expenses during the AEP Application Period.


       Copies of the above referenced Application may be (i) requested from counsel for the

Trustee using the contact information below; (ii) inspected in the office of the Clerk of the

Bankruptcy Court during normal business hours; and (iii) downloaded from the Bankruptcy

Court’s website at http://www.txs.uscourts.gov/bankruptcy. Please note that prior registration with

the PACER Service Center and payment of a fee may be required to access such documents.




       1
           Capitalized terms used but not defined herein shall have the meanings ascribed to them in the Application.
                                                              2
       4930-7521-4154, v. 1
        Case 25-30155 Document 131 Filed in TXSB on 06/04/25 Page 3 of 3




Dated: June 4, 2025.



                                               Respectfully submitted,

                                               OKIN ADAMS BARTLETT CURRY LLP

                                               By: _/s/ Timothy L. Wentworth_____________
                                               Timothy L. Wentworth
                                               Texas Bar No. 21179000
                                               Email: twentworth@okinadams.com
                                               1113 Vine Street, Suite 240
                                               Houston, Texas 77002
                                               Telephone: 713.228.4100
                                               Facsimile: 346.247.7158

                                               PROPOSED ATTORNEYS FOR THE DEBTOR


                                  CERTIFICATE OF SERVICE

       I hereby certify that on June 4, 2025, a true and correct copy of the foregoing Notice was
served via the Court’s CM/ECF system to all parties consenting to service through the same, and
to all parties on the attached service list via US First Class Mail.

                                               By:    /s/ Timothy L. Wentworth
                                                        Timothy L. Wentworth




                                                      3
       4930-7521-4154, v. 1
